Case 1:22-cv-02806-WFK-VMS           Document 1       Filed 05/13/22      Page 1 of 16 PageID #: 1




 Daniel Sadeh, Esq.
 HALPER SADEH LLP
 667 Madison Avenue, 5th Floor
 New York, NY 10065
 Telephone: (212) 763-0060
 Facsimile: (646) 776-2600
 Email: sadeh@halpersadeh.com

 Counsel for Plaintiff

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

     GILBERT IRVIN,                                   Case No:

             Plaintiff,
                                                      COMPLAINT
             v.
                                                      JURY TRIAL DEMANDED
     HEALTHCARE REALTY TRUST
     INCORPORATED, JOHN KNOX
     SINGLETON, TODD J. MEREDITH,
     JOHN V. ABBOTT, NANCY H. AGEE,
     EDWARD H. BRAMAN, AJAY GUPTA,
     JAMES J. KILROY, PETER F. LYLE,
     and CHRISTANN M. VASQUEZ,

             Defendants.


        Plaintiff Gilbert Irvin (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

 complaint against Defendants (defined below), alleges the following based upon personal

 knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

 matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                  NATURE OF THE ACTION

        1.        This is an action against Healthcare Realty Trust Incorporated (“Healthcare

 Realty,” “HR,” or the “Company”) and its Board of Directors (the “Board” or the “Individual

 Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of



                                                 1
Case 1:22-cv-02806-WFK-VMS            Document 1       Filed 05/13/22      Page 2 of 16 PageID #: 2




 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a) and 78t(a), and Rule 14a-9 promulgated

 thereunder by the SEC, 17 C.F.R. § 240.14a-9, in connection with the proposed merger (the

 “Proposed Transaction”) of Healthcare Realty and Healthcare Trust of America, Inc. (“Healthcare

 Trust”).

                                  JURISDICTION AND VENUE

        2.      The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

 the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

 SEC (17 C.F.R. § 240.14a-9).

        3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

        4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

 the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

 complained of herein had an effect in this District, and the alleged misstatements entered and the

 subsequent damages occurred in this District.

        5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

 Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

 including but not limited to, the United States mails, interstate telephone communications and the

 facilities of the national securities exchange.

                                              PARTIES

        6.      Plaintiff is, and has been at all relevant times hereto, an owner of Healthcare Realty

 common stock.

        7.      Defendant Healthcare Realty is a real estate investment trust that integrates

 owning, managing, financing and developing income-producing real estate properties associated



                                                   2
Case 1:22-cv-02806-WFK-VMS           Document 1       Filed 05/13/22     Page 3 of 16 PageID #: 3




 primarily with the delivery of outpatient healthcare services throughout the United States. The

 Company is incorporated in Maryland. The Company’s common stock trades on the New York

 Stock Exchange under the ticker symbol, “HR.”

        8.      Defendant John Knox Singleton (“Singleton”) is a director of the Company.

        9.      Defendant Todd J. Meredith (“Meredith”) is President, Chief Executive Officer,

 and a director of the Company.

        10.     Defendant John V. Abbott (“Abbott”) is a director of the Company.

        11.     Defendant Nancy H. Agee (“Agee”) is a director of the Company.

        12.     Defendant Edward H. Braman (“Braman”) is a director of the Company.

        13.     Defendant Ajay Gupta (“Gupta”) is a director of the Company.

        14.     Defendant James J. Kilroy (“Kilroy”) is a director of the Company.

        15.     Defendant Peter F. Lyle (“Lyle”) is a director of the Company.

        16.     Defendant Christann M. Vasquez (“Vasquez”) is a director of the Company.

        17.     Defendants Singleton, Meredith, Abbott, Agee, Braman, Gupta, Kilroy, Lyle, and

 Vasquez are collectively referred to herein as the “Individual Defendants.”

        18.     Defendants Healthcare Realty and the Individual Defendants are collectively

 referred to herein as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

    A. The Proposed Transaction

        19.     On February 28, 2022, Healthcare Realty and Healthcare Trust announced that they

 had agreed to enter into a strategic business combination. Upon closing of the Proposed

 Transaction, each share of Healthcare Realty common stock will be exchanged for one share of

 Healthcare Trust common stock, at a fixed ratio. The press release announcing the Proposed



                                                3
Case 1:22-cv-02806-WFK-VMS                Document 1   Filed 05/13/22     Page 4 of 16 PageID #: 4




 Transaction states, in pertinent part:

          Healthcare Realty and Healthcare Trust of America Enter Into $18 Billion
                                  Strategic Combination

        February 28, 2022 06:45 ET | Source: Healthcare Realty Trust Incorporated

        Creates Preeminent, High Quality MOB REIT

        Led by Existing Healthcare Realty Executive Team and Chairman

        Healthcare Realty Name and Ticker Symbol (NYSE: HR)

        Expected to be Accretive with Material Cost Synergies and Operational Upside

        Conference Call to be held at 8:30 AM E.T.

        NASHVILLE, Tenn. and SCOTTSDALE, Ariz., Feb. 28, 2022 (GLOBE
        NEWSWIRE) -- Healthcare Realty Trust Incorporated (NYSE:HR) (“Healthcare
        Realty” or “HR”) and Healthcare Trust of America, Inc. (NYSE: HTA)
        (“Healthcare Trust of America” or “HTA”) today announced that they have agreed
        to enter into a strategic business combination. HTA shareholders will receive a total
        implied value of $35.08 per share comprised of a special cash dividend of $4.82
        per share and a transaction exchange ratio of 1:1 based on HR’s unaffected price of
        $30.26 on February 24, 2022. This transaction brings together two of the largest
        owners of medical office buildings, creating the preeminent, pure-play medical
        office building REIT and positions the combined company (the “Company”) to
        create long-term shareholder value. The Company will have a pro forma equity
        market capitalization of approximately $11.6 billion and a total enterprise value of
        $17.6 billion based on the implied values at market close on February 24, 2022.

        Leadership and Organization

        The Company will be led by the Healthcare Realty management team, with Todd
        Meredith as President and Chief Executive Officer and Kris Douglas as Executive
        Vice President and Chief Financial Officer. Upon completion of the transaction, the
        new Company will continue to operate with the Healthcare Realty name and trade
        on the NYSE under the ticker symbol HR.

        The Company will have a highly qualified, diverse Board of Directors comprised
        of nine existing directors of Healthcare Realty, three members of the Healthcare
        Trust of America Board, and one new member to be mutually agreed upon by the
        existing HR and HTA directors and appointed prior to closing of the transaction.
        Knox Singleton, Chairman of the Healthcare Realty Board, will be Chairman of the
        Company and Brad Blair, Chairman of the Healthcare Trust of America Board, will
        be appointed Vice Chairman.


                                                  4
Case 1:22-cv-02806-WFK-VMS         Document 1        Filed 05/13/22     Page 5 of 16 PageID #: 5




       Upon completion of the transaction, the Company’s headquarters will be based in
       Nashville, with additional corporate offices in Scottsdale and Charleston. The
       Company will implement a detailed integration process to ensure continuity for
       tenants, employees and all stakeholders.

                                        *       *      *

       Transaction Structure

       At closing, each share of HR common stock will be exchanged for one share of
       HTA common stock, at a fixed ratio. In addition, a special cash dividend of $4.82
       per share will be distributed to HTA shareholders. Taken together and based on
       HR’s share price at the close of markets on February 24, 2022, HTA shareholders
       will realize an implied value of $35.08 per HTA share, representing an 18.2%
       premium to HTA’s share price at the close of markets on February 24, 2022. This
       combination is structured as a reverse merger whereby Healthcare Trust of America
       will be the corporate successor and the Company’s name will continue as
       Healthcare Realty Trust Incorporated. Pro forma for the transaction HR and HTA
       shareholders will own 39% and 61% of the Company, respectively.

       The special cash dividend of approximately $1.1 billion will be financed through
       joint venture transactions and asset sales. JPMorgan Chase Bank, N.A. has
       provided a commitment letter to Healthcare Trust of America for a $1.7 billion debt
       financing for the transaction upon the terms and conditions set forth in the letter.

       The transaction is expected to close in the third quarter of 2022, subject to
       customary closing conditions, including the approval of both Healthcare Realty and
       Healthcare Trust of America shareholders. The transaction was unanimously
       approved by the Board of Directors of HR and the Board of Directors of HTA.

       Advisors

       Citigroup Global Markets Inc. is serving as lead financial advisor, Scotiabank is
       serving as financial advisor, and Hunton Andrews Kurth LLP is acting as legal
       advisor to Healthcare Realty. J.P. Morgan Securities LLC is acting as exclusive
       financial advisor and McDermott Will & Emery LLP is acting as legal advisor to
       Healthcare Trust of America.

                                        *       *      *

       About Healthcare Realty

       Healthcare Realty Trust Incorporated (NYSE: HR) is a real estate investment trust
       that integrates owning, managing, financing and developing income-producing real
       estate properties associated primarily with the delivery of outpatient healthcare


                                               5
Case 1:22-cv-02806-WFK-VMS           Document 1       Filed 05/13/22      Page 6 of 16 PageID #: 6




        services throughout the United States. As of December 31, 2021, the Company was
        invested in 258 real estate properties in 23 states totaling 17.9 million square feet
        and had an enterprise value of approximately $6.6 billion, defined as equity market
        capitalization plus the principal amount of debt less cash. The Company provided
        leasing and property management services to 14.3 million square feet nationwide.

        About Healthcare Trust of America

        Healthcare Trust of America, Inc. (NYSE: HTA) is the largest dedicated owner and
        operator of medical office buildings in the United States, with assets comprising
        approximately 25.8 million square feet of GLA, with $7.7 billion invested primarily
        in medical office buildings as of September 30, 2021. HTA provides real estate
        infrastructure for the integrated delivery of healthcare services in highly-desirable
        locations. Investments are targeted to build critical mass in 20 to 25 leading
        gateway markets that generally have leading university and medical institutions,
        which translates to superior demographics, high-quality graduates, intellectual
        talent and job growth. The strategic markets HTA invests in support a strong, long-
        term demand for quality medical office space. HTA utilizes an integrated asset
        management platform consisting of on-site leasing, property management,
        engineering and building services, and development capabilities to create complete,
        state of the art facilities in each market. HTA believes this drives efficiencies,
        strong tenant and health system relationships, and strategic partnerships that result
        in high levels of tenant retention, rental growth and long- term value creation.
        Headquartered in Scottsdale, Arizona, HTA has developed a national brand with
        dedicated relationships at the local level.

        20.     On May 2, 2022, Defendants caused to be filed with the SEC a Form S-4

 Registration Statement (the “Registration Statement”) under the Securities Act of 1933 in

 connection with the Proposed Transaction.

    B. The Registration Statement Contains Materially False and Misleading Statements
       and Omissions

        21.     The Registration Statement, which recommends that Healthcare Realty

 shareholders vote in favor of the Proposed Transaction, omits and/or misrepresents material

 information concerning: (i) Healthcare Realty’s and Healthcare Trust’s financial projections; (ii)

 the financial analyses performed by the Company’s financial advisor, Citigroup Global Markets

 Inc. (“Citigroup” or “Citi”), in connection with its fairness opinion; (iii) potential conflicts of

 interest involving Citigroup and Scotia Capital USA Inc. (“Scotia” or “Scotiabank”), the


                                                 6
Case 1:22-cv-02806-WFK-VMS            Document 1        Filed 05/13/22      Page 7 of 16 PageID #: 7




 Company’s additional financial advisor; and (iv) potential conflicts of interest involving Company

 insiders.

         22.      The omission of the material information (referenced below) renders the following

 sections of the Registration Statement false and misleading, among others: (i) HR’s Reasons for

 the Merger; Recommendation of the HR Board; (ii) Opinion of HR Financial Advisor; and (iii)

 Certain Unaudited Prospective Financial Information.

         23.      Unless and until the material misstatements and omissions (referenced below) are

 remedied before the anticipated shareholder vote on the Proposed Transaction, Healthcare Realty

 shareholders will be forced to make a voting decision on the Proposed Transaction without full

 disclosure of all material information. In the event the Proposed Transaction is consummated,

 Plaintiff may seek to recover damages resulting from Defendants’ misconduct.

               1. Material Omissions Concerning Healthcare Realty’s and Healthcare Trust’s
                  Financial Projections

         24.      The Registration Statement omits material information concerning Healthcare

 Realty’s and Healthcare Trust’s financial projections.

         25.      With respect to Healthcare Realty’s and Healthcare Trust’s financial projections,

 the Registration Statement fails to disclose: (1) all line items underlying the projections; and (2) a

 reconciliation of all non-GAAP to GAAP metrics.

         26.      The disclosure of this information is material because it would provide the

 Company’s shareholders with a basis to project the future financial performance of Healthcare

 Realty and the combined company and would allow shareholders to better understand the financial

 analyses performed by the Company’s financial advisor in support of its fairness opinion.

 Shareholders cannot hope to replicate management’s inside view of the future prospects of the

 Company. Without such information, which is uniquely possessed by Defendant(s) and the


                                                  7
Case 1:22-cv-02806-WFK-VMS           Document 1       Filed 05/13/22     Page 8 of 16 PageID #: 8




 Company’s financial advisor, the Company’s shareholders are unable to determine how much

 weight, if any, to place on the Company’s financial advisor’s fairness opinion in determining

 whether to vote for or against the Proposed Transaction.

        27.      When a company discloses non-GAAP financial metrics in a Registration

 Statement that were relied upon by its board of directors in recommending that shareholders

 exercise their corporate suffrage rights in a particular manner, the company must also disclose,

 pursuant to SEC Regulation G, all projections and information necessary to make the non-GAAP

 metrics not misleading, and must provide a reconciliation (by schedule or other clearly

 understandable method) of the differences between the non-GAAP financial metrics disclosed or

 released with the most comparable financial metrics calculated and presented in accordance with

 GAAP. 17 C.F.R. § 244.100. 1

        28.      The above-referenced omitted information, if disclosed, would significantly alter

 the total mix of information available to the Company’s shareholders.

              2. Material Omissions Concerning Citigroup’s Analyses

        29.      In connection with the Proposed Transaction, the Registration Statement omits

 material information concerning analyses performed by Citigroup.

        30.      With respect to Citigroup’s “Selected Public Companies Analyses,” the

 Registration Statement fails to disclose the individual multiples and financial metrics of each



 1
   Mary Jo White, Keynote Address, International Corporate Governance Network Annual
 Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
 GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
 speech.html (footnotes omitted) (last visited May 13, 2022) (“And last month, the staff issued
 guidance addressing a number of troublesome practices which can make non-GAAP disclosures
 misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
 recurring cash operating expenses; individually tailored non-GAAP revenues; lack of
 consistency; cherry-picking; and the use of cash per share data. I strongly urge companies to
 carefully consider this guidance and revisit their approach to non-GAAP disclosures.”).

                                                 8
Case 1:22-cv-02806-WFK-VMS            Document 1       Filed 05/13/22      Page 9 of 16 PageID #: 9




 company Citigroup observed in its analyses.

        31.     The Registration Statement fails to disclose the following concerning Citigroup’s

 “Discounted Cash Flow Analyses” of Healthcare Realty and Healthcare Trust: (1) the respective

 terminal values of the Company and Healthcare Trust; and (2) the individual inputs and

 assumptions underlying the exit cap rates, growth rates, and discount rates used in the analyses.

        32.     The Registration Statement fails to disclose the following concerning Citigroup’s

 analyses of analysts’ price targets for Healthcare Realty common stock and Healthcare Trust

 common stock, and analysts’ net asset value per share estimates for Healthcare Realty common

 stock and Healthcare Trust common stock: (1) the individual price targets and net asset value per

 share estimates observed by Citigroup in its analyses; and (2) the sources thereof.

        33.     The Registration Statement fails to disclose the following concerning Citigroup’s

 illustrative discounted cash flow analysis of the pro forma combined company: (1) the potential

 pro forma implications of the Proposed Transaction; and (2) the individual inputs and assumptions

 underlying the exit cap rates, growth rates, and discount rates used in the analysis.

        34.     The Registration Statement provides that, in arriving at its opinion, Citigroup

 “evaluated certain potential pro forma financial effects of the Merger on [the Company.]” The

 Registration Statement, however, fails to disclose the potential pro forma financial effects of the

 Proposed Transaction on Healthcare Realty.

        35.     The valuation methods, underlying assumptions, and key inputs used by Citigroup

 in rendering its purported fairness opinion must be fairly disclosed to the Company’s shareholders.

 The description of Citigroup’s fairness opinion and analyses, however, fails to include key inputs

 and assumptions underlying those analyses.

        36.     Without the information described above, the Company’s shareholders are unable



                                                  9
Case 1:22-cv-02806-WFK-VMS            Document 1         Filed 05/13/22     Page 10 of 16 PageID #:
                                              10



 to fully understand Citigroup’s fairness opinion and analyses, and are thus unable to determine

 how much weight, if any, to place on them in determining whether to vote for or against the

 Proposed Transaction. This omitted information, if disclosed, would significantly alter the total

 mix of information available to the Company’s shareholders.

              3. Material Omissions Concerning Potential Conflicts of Interest Involving
                 Citigroup and Scotia

        37.      The Registration Statement omits material information concerning potential

 conflicts of interest involving Citigroup and Scotia.

        38.      The Registration Statement fails to disclose the timing and nature of the past

 services that Citigroup, Scotia, and/or their affiliates provided to Healthcare Realty, Healthcare

 Trust, and/or their affiliates, including the amount of compensation Citigroup and Scotia,

 respectively, received or expect to receive for providing each service within the past two years.

        39.      The Registration Statement provides that, “[a]t the request of HR, Citi or one of its

 affiliates may provide or participate in financings undertaken by prospective counterparties

 relating to joint ventures or sales of assets of HR and/or the Company entered into in contemplation

 of the Merger, for which services Citi or such affiliate would expect to receive compensation.”

        40.      The Registration Statement further provides that, “[a]t the request of HR,

 Scotiabank or one of its affiliates may provide or participate in financings undertaken by

 counterparties relating to joint ventures or sales of assets of HR or the Company entered into in

 contemplation of the Merger, for which services Scotiabank or such entity would expect to receive

 compensation.”

        41.      The Registration Statement, however, fails to disclose the amount of compensation

 Citigroup and Scotia received or expect to receive for providing such financing services. See

 Ortsman v. Green, 2007 WL 702475, at *1-2 (Del. Ch. Feb. 28, 2007) (ordering expedited


                                                 10
Case 1:22-cv-02806-WFK-VMS            Document 1       Filed 05/13/22      Page 11 of 16 PageID #:
                                              11



 discovery where plaintiff alleged “colorable disclosure claims” concerning omission of

 information relating to financial advisors’ conflicted roles in the deal having attempted to provide

 financing to buyers, as well as failing to disclose amount of fees received by advisor from the

 company, buyer, and members of buyer group).

        42.      The Registration Statement also fails to disclose the financial analyses performed

 by Scotia. This must be disclosed as, during the sales process, the Board reviewed Scotia’s

 financial analyses and relied upon them in connection with its recommendation that Company

 shareholders approve the Proposed Transaction.

        43.      Disclosure of a financial advisor’s compensation and potential conflicts of interest

 to shareholders is required due to their central role in the evaluation, exploration, selection, and

 implementation of strategic alternatives and the rendering of any fairness opinions. Disclosure of

 a financial advisor’s potential conflicts of interest may inform shareholders on how much weight

 to place on that analysis.

        44.      The omission of the above-referenced information renders the Registration

 Statement materially incomplete and misleading. This information, if disclosed, would

 significantly alter the total mix of information available to the Company’s shareholders.

              4. Material Omissions Concerning Company Insiders’ Potential Conflicts of
                 Interest

        45.      The Registration Statement omits material information concerning potential

 conflicts of interest involving Company insiders.

        46.      The Registration Statement fails to disclose the details of all employment-related

 and compensation-related discussions and negotiations concerning the Company’s officers and

 directors, including the parties to such communications, when they occurred, and the specific

 content discussed/communicated.


                                                 11
Case 1:22-cv-02806-WFK-VMS            Document 1        Filed 05/13/22      Page 12 of 16 PageID #:
                                              12



         47.     Any communications regarding post-transaction employment during the

 negotiation of the underlying transaction must be disclosed to shareholders. This information is

 necessary for shareholders to understand potential conflicts of interest of management and the

 Board. Such information may illuminate the motivations that would prevent fiduciaries from acting

 solely in the best interests of the Company’s shareholders.

         48.     The above-referenced omitted information, if disclosed, would significantly alter

 the total mix of information available to the Company’s shareholders.

                                           COUNT I
           For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                    Against All Defendants
         49.     Plaintiff repeats and realleges each and every allegation contained above as if fully

 set forth herein.

         50.     During the relevant period, Defendants, individually and in concert, directly or

 indirectly, disseminated or approved the false and misleading Registration Statement specified

 above, which failed to disclose material facts necessary in order to make the statements made, in

 light of the circumstances under which they were made, not misleading, in violation of Section

 14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

         51.     Each of the Individual Defendants, by virtue of his/her positions within the

 Company as officers and/or directors, were aware of the omitted information but failed to disclose

 such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

 mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

 of their names to file and disseminate the Registration Statement with respect to the Proposed

 Transaction. The Defendants were, at minimum, negligent in filing the materially false and

 misleading Registration Statement.

         52.     The false and misleading statements and omissions in the Registration Statement

                                                 12
Case 1:22-cv-02806-WFK-VMS             Document 1       Filed 05/13/22      Page 13 of 16 PageID #:
                                               13



 are material in that a reasonable shareholder would consider them important in deciding how to

 vote on the Proposed Transaction.

        53.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

 Act and Rule 14a-9 promulgated thereunder.

        54.     Because of the false and misleading statements and omissions in the Registration

 Statement, Plaintiff is threatened with irreparable harm.

                                             COUNT II
                          Violations of Section 20(a) of the Exchange Act
                                Against the Individual Defendants

        55.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

 paragraphs as if fully set forth herein.

        56.     The Individual Defendants acted as control persons of the Company within the

 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

 as officers and/or directors of the Company and participation in and/or awareness of the

 Company’s operations and/or intimate knowledge of the false statements contained in the

 Registration Statement filed with the SEC, they had the power to and did influence and control,

 directly or indirectly, the decision-making of the Company, including the content and

 dissemination of the false and misleading Registration Statement.

        57.     Each of the Individual Defendants was provided with or had unlimited access to

 copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

 prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

 of the statements or cause the statements to be corrected. As officers and/or directors of a publicly

 owned company, the Individual Defendants had a duty to disseminate accurate and truthful

 information with respect to the Registration Statement, and to correct promptly any public



                                                  13
Case 1:22-cv-02806-WFK-VMS             Document 1        Filed 05/13/22      Page 14 of 16 PageID #:
                                               14



 statements issued by the Company which were or had become materially false or misleading.

        58.     In particular, each of the Individual Defendants had direct and supervisory

 involvement in the operations of the Company, and, therefore, is presumed to have had the power

 to control or influence the particular transactions giving rise to the securities violations as alleged

 herein, and exercised the same. The Individual Defendants were provided with or had unlimited

 access to copies of the Registration Statement and had the ability to prevent the issuance of the

 statements or to cause the statements to be corrected. The Registration Statement at issue contains

 the recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

 Individual Defendants were directly involved in the making of the Registration Statement.

        59.     In addition, as the Registration Statement sets forth at length, and as described

 herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

 Proposed Transaction. The Registration Statement purports to describe the various issues and

 information that they reviewed and considered—descriptions which had input from the Individual

 Defendants.

        60.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

 of the Exchange Act.

        61.     As set forth above, the Individual Defendants had the ability to exercise control

 over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

 promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

 as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

 Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

 shareholders will be irreparably harmed.




                                                  14
Case 1:22-cv-02806-WFK-VMS            Document 1        Filed 05/13/22    Page 15 of 16 PageID #:
                                              15



                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment and relief as follows:

        A.      Preliminarily and permanently enjoining Defendants and all persons acting in

 concert with them from proceeding with, consummating, or closing the Proposed Transaction and

 any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

 material information identified above to Company shareholders;

        B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

 setting it aside or awarding rescissory damages;

        C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

 and Rule 14a-9 promulgated thereunder;

        D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

 counsel fees and expert fees; and

        E.      Granting such other and further relief as the Court may deem just and proper.

                                     JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.

 Dated: May 13, 2022                                Respectfully submitted,

                                                     HALPER SADEH LLP

                                                     By: /s/ Daniel Sadeh
                                                     Daniel Sadeh, Esq.
                                                     Zachary Halper, Esq. (to be admitted pro hac
                                                     vice)
                                                     667 Madison Avenue, 5th Floor
                                                     New York, NY 10065
                                                     Telephone: (212) 763-0060
                                                     Facsimile: (646) 776-2600
                                                     Email: sadeh@halpersadeh.com
                                                             zhalper@halpersadeh.com




                                                15
Case 1:22-cv-02806-WFK-VMS   Document 1     Filed 05/13/22       Page 16 of 16 PageID #:
                                     16



                                         Counsel for Plaintiff




                                    16
